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IN THE UNITED sTATEs DIsTRIcT coURT FOR §§§ &Jo ~u
wEsTERN DISTRICT oF TENNESSEE /955
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UNITED STATES oF AMERICA “MV`

VS. CR NO. 1:04-CR-10062-Ol-T

MICHAEL L. JACKSON

ORDER OF DISMISSA.L UPON
JURY VERDICT OF NOT GUILTY

 

 

This cause came on to be heard on May ll, 2005, Assistant
U. S. Attorney, James W. Powell, representing the government, and
the defendant appeared in person and with counsel, M. Dianne
Smothers, who was appointed.

Upon statements of counsel that they were ready for trial upon
the plea of not guilty heretofore entered by the defendant, a jury
was called, qualified, tried and sworn to well and truly try the
issues herein joined and a true verdict render according to the
law and evidence.

After listening to all of the evidence, arguments of counsel,
and charge of the Ccurt, the alternate jurors were discharged and

the jury retired to the jury room to deliberate upon its verdict.

Thle document entered on the docket sheet In compliance
with Rute 55 and/or 32(b) FRCrP on

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After due deliberation, the jury returned in open court on
May ll, 2005, and announced its verdict of NOT GUILTY as
charged in Count 2 of the Indictment. The jurors were polled
individually and discharged.

IT IS ORDERED AND ADJUDGED that the Count 2 Of the Indictment
be and is hereby dismissed as to the defendant, Michael L. Jackson.

The defendant is remanded to the custody of United States
Marshal.

IT IS SO ORDERED.

JAME D. TODD
UNITED STATES DISTRICT JUDGE

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UNITED sTATE DISTRICT COUR - WESERNT D"'TRCT oFTENNESSEE

    
 

 

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This notice confirms a copy of the document docketed as number 66 in
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M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson, TN 38301

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

